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                                                                                                             FILED
                                                       U.S. Department of Justice
                                                                                                         MAY 10 2019
                                                       United States Attorney                          U.S. DISTKiCT COURT-
                                                       Eastern District ofMissouri                   EASTERN DISTRICT OF MO
                                                                                                            ST. LOUIS


 HAL GOLDSMITH                                         Thomas F Eagleton US Courthouse   Telephone: (314) 539-2200
 Assistant United States Attorney                      111 S lO'h Street, Rm, 20.333           Fax: (314) 539-2777
                                                       St. Louis, MO 63102




                                                                   May 10, 2019



Mr. Gregory J. Linhares, Clerk
United States District Court
111 S. 1oth Street                                          RECIEiVED
St. Louis, MO 63102                                          MAY 10 2019
          Re:        United States v. John Rallo           U.S. District Court
                     4:19-cr-00367-ERW-JMB                Eastern District of MO

Mr. Linhares:

        The indictment above returned by the United States Grand Jury in the above captioned
case on May 9, 2019, was ordered suppressed pending the apprehension of the defendant named
herein.

        We are now informed that the indictment regarding the above defendant is no longer in
need of being suppressed, therefore, the suppression of the indictment may be lifted. It is,
therefore, directed that such be done.


                                                   Very truly yours,


                                                   REGINALD HARRIS
                                                   Attorney for the United States
                                                   Acting Under Authority Conferred by
                                                   28 U.S.C. S tion 515


                                                        I
                                                            LDSMITH, #32984MO
                                                   Assistant United States Attorney
